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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT

JOHN R. WI- INFIELD                                              CIVIL ACTION NO.
                                                                 3:12-CV-00812 (JCH)
                        Plaintiff.

V.

CAPITAS DISTRIBUTORS, INC.,
CAP1TAS FINANCIAL, INC. and
CAP1TAS AGENCY, LLC

                       Defendants.

                                          AMENDED COMPLAINT

Count One (Breach of Employment Agreement as to COI)

            1.         At all relevant times hereto, the plaintiff John R. Whinfield ("Whinfield"), is an

individual residing at 271 Preston Terrace, Cheshire, Connecticut 06410.

           2.          At all relevant times hereto, the defendant Capitas Financial, Inc. ("Capitas

Financial"), is a corporation organized and existing under the laws of the State of Delaware,

with a business address located at 200 Coon Rapids Boulevard, NW, Suite 300, Minneapolis,

Minnesota 55433. Capitas Financial is a life insurance brokerage company.

           3.          At all relevant times hereto, the defendant Capitas Distributors, Inc. ("CDI"), is

a corporation organized and existing under the laws of the State of Delaware, with a business

address located at 200 Coon Rapids Boulevard, NW. Suite 300 Minneapolis, Minnesota 55433.

CDI is a wholly owned subsidiary of Capitas Financial.

           4.          At all relevant times hereto, the defendant Capitas Agency, LLC ("Capitas

Agency"), is a limited liability company organized and existing under the laws of the State of

Delaware. with a business address located at 600 South Highway 169, 4710, Minneapolis,

Minnesota 55426. Capitas Agency is a subsidiary and/or affiliate of Capitas Financial and is



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governed by Capitas Financial.

           5.            CDI is a distribution company that focuses on life insurance sales in financial

institutions. CDI employs insurance point-of-sale professionals (e.g., Sales Vice Presidents)

working primarily in the institutional marketplace.

           6.            On or about August 11, 2010, Whinfield commenced employment with CDI,

in the capacity of Sales Vice President, and was responsible for selling life insurance products on

behalf of CDI.

           7.            Typically, CDT's Sales Vice Presidents procured purchasers of life insurance

products, known as "clients", through third parties, known as "producers". However, CDT's

Sales Vice Presidents were encouraged to independently produce their own clients whenever

possible.

           8.            In the rare cases where CDT's Sales Vice Presidents produced their own clients to

whom life insurance products were sold, it was express company policy for Sales Vice

Presidents to receive base commissions on such sales as well as renewal commissions.

           9.            Prior to commencing employment, Whinfield entered into a Sales Vice

President Employment Agreement ("Employment Agreement") with CDI on August 5, 2010.

The Employment Agreement set forth terms under which Whinfield was to be paid override

commissions earned and allotted monthly business expenses.

           10.           The Employment Agreement was written without co nemplating sales involving

Sales Vice Presidents as producers and bears no mention of base commissions or renewal

commissions.

           11.           On or about November 1, 2011, Whinfield as producer, sold insurance policies to

Alfred Lenoci, Sr. and Alfred I enoci, Jr. (the "Lenoci cases") and became entitled to an override




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commission on each case pursuant to ¶ 2.1 of the Employment Agreement.

          12.      Shortly thereafter, Whinfield sold an insurance policy to Marilyn Shoemaker (the

"Shoemaker case") and became entitled to an override commission on the case pursuant to ¶ 2.1

of the Employment Agreement.

          13.      Paragraph 2.1 of the Employment Agreement reads as follows:

             Commission. CDI shall pay to the Employee at the end of each month a commission
             payment ("Commission") equal to the product of forty-five (45%) of all Profits (as
             defined below) attributable to the Employee. For purposes of this Agreement, the term
             "Profits" shall mean all revenue that CDI receives from the Products sold by the
             Employee less the aggregate amount of the Expenses (as defined in Section 2.3) paid
             to the Employee during the then current calendar month. All Commission payments
             will be paid to the Employee less regular deductions and withholdings.

         14.      To date, CDI has failed to provide Whinfield with an accounting of the

revenue it received from the Lenoci cases or the Shoemaker case (collectively the "cases") in

accordance with If 2.1 of the Employment Agreement.

         15.      To date, CDI has failed to perform profit calculations in relation to the Lenoci

cases and the Shoemaker case in accordance with ! 1, 2.1 of the Employment Agreement.

         16.      To date, CDI has failed to render override commission payments due and

owing to Whinfield in relation to the Lenoci cases and the Shoemaker case.

         17.      In addition, CDI contends that it is entitled to deduct from any override

commission • paid on the cases to Whinfield, all necessary business expenses reimbursed to

Whinfield in accordance with        II   2.1 of the Employment Agreement. Monthly expenses are

defined in 11 2.3(b) of the Employment Agreement as "reimbursement payments from CDI for

gas, phone, travel and entertainment incurred in connection with the services provided pursuant

to this Agree ent."

         18.      The aforementioned contention is contrary to the CDI expense policy as




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referenced in Whinfield's July 4, 2010 offer of employment which provides that during the fi st

six months of Whinfield's employment, he was to receive an expense allowance at a fixed rate of

$3,500.00.

         19.      Whinfield's initial six month allowance, to aling $21,0 0 00, is not a

reimbursable expense.

         20.      Nevertheless, CDT is seeking to recoup, from Whinfield's override commissions

on the cases $21 000.00 which it is not entitled to recover pursuant to the terms of its offer of

employment to Whinfield.

         21.      CDI is in breach of the Employment Agreement for its failure to pay override

commissions to Whinfield on the cases.

         27 .     As a direct result of CDI's breach of the Employment Agreement, Whinfield has

suffered over $110,000 in damages which represents the combined override commission he

earned on the Lenoci cases and the Shoemaker case less the aggregate amount of expenses paid

to Whinfield, not inclusive of the $21,000.00 allowance he was provided.

Count Two (Equitable Action for Accounting against CDI)

         1-18.    The allegations of paragraphs 1-18 of Count One are incorporated herein as

paragraphs 1-18 of this Count Two as if fully alleged and set forth herein.

         19.      Whinfield is entitled to an accounting of revenue received by CDI from the

Lenoci cases and the Shoemaker case, in accordance with IT 2,1 of the Employment Agreement,

at common law and pursuant to C.G.S. § 52-401.

         20.      In the accounting requested in the Count, Whinfield is entitled to profit

calculations in accordance with 112.1 of the Employment Agreement.

                  .Tudicial settlement of the com 'ssions owing to Whinfield, in connection with the


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Lenoci cases and Shoemaker case is necessary so that said commissions may be distributed

according to law.

Count Three (Declaratory Judgment against CM.— Restrictive Covenants Are
Unenforceable)

         1 18. The allegations of paragraphs 1-18 of Count One are incorporated herein as

paragraphs 1-18 of this Count Three as if fully alleged and set forth herein.

         19.         The parties' Employment Agreement contains restrictive covenants regarding

solicitation of business and competition in the marketplace.

         20.         Paragraph 7 of the Employment Agreement contains non-solicitation covenants

which sets forth the following:

               Non-Solicitation Covenants. In consideration of the amounts to be paid to the
               Employer hereunder, the Employee covenants that the Employee shall, during the term
               of this Agreement, and for two (2) years following the termination or expiration of this
               Agreement, comply with the following separate and independent covenants:

                     (a)        The Employee will not, without CDI's prior written consent, either
                                directly or indirectly, on the Employee's own behalf or in the service or on
                                behalf of others, solicit, divert, or appropriate, any person or entity that
                                was a National Account, a Regional Account or a registered representative
                                of a National Account or Regional Account of CDI during the term of this
                                Agreement.

                     (b)        The Employee will not, without CDT's prior written consent, either
                                directly or indirectly, on the Employee's own behalf or in the service or on
                                behalf of others, solicit, divert, or hire away, or attempt to solicit, divert or
                                hire away, any person employed by CDT, Capitas or any affiliate of CDT or
                                Capitas. whether or not such person is full-time or a temporary employee
                                or agent and whether or not such employment or contractor relationship is
                                pursuant to a written agreement.

         21.         Paragraph 8 of the Employment Agreement contains a non-eo pete agreement

which sets forth the following:

Non-Compete Agreement.

                     (a)        Definition. For purposes of this Section 8, the term "Competitive
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                                 Business" shall mean any business t! at, directly or indirectly, calls on,
                                 solicits, acts as agent for, or attempts to provide Products or services
                                 similar to those provided by CDI. Capitas or any other affiliate of CDI.

                      (b)        Prohibition; Term. The Employee promises and agrees that if, during
                                 the term of this Agreement and for six (6) months followin2 the
                                 termination or expiration of this Agreement, the Employee leaves the
                                 employment of CDI for any reason or for no reason at all, the
                                 Employee shall not, directly or indirectly, as an individual, partner,
                                 member, shareholder, director, officer, manager or any other
                                 relationship or capacity whatsoever:

                                 (i)     engage in or otherwise be involved in any Competitive
                                         Business;

                                 (ii)    render any services or information to or otherwise assist any
                                         otherperson, corporation, limited liability company, partnership,
                                         entity, enterprise, business, trust or association including,
                                         without limitation, an insurance company engaged in any
                                         Competitive Business: or

                                 (iii)   engage in or otherwise be involved in any activity which
                                         interferes with or harms CDI's and/or Capitas' National
                                         Accounts or Regional Accounts.

                      (c)        Geographic Scope. The obligations of the Employee under this Section
                                 8 shall apply to any geographic area in which CDI, Capitas, any other
                                 affiliate of CDI: (a) has engaged in business during the term of this
                                 Agreement whether by providing services or promoting, selling or
                                 marketing such services or otherwise; or (b) has otherwise established
                                 its goodwill, business reputation or any customer or insurance carrier
                                 relations.

                       (d)       Consideration for Non-Compete. The Employee understands and
                                 agrees that CDT's offer of employment constitutes independent and
                                 sufficient consideration for this non-compete provision. The Employee
                                 acknowledges that the request for this non-compete provision was
                                 made in the initial offer of employment that the Employee received
                                 from CDI. Executive will not challenge the independent nature of
                                 sufficiency of this consideration, either during the term of the
                                 Employee's employment with CDI or at any time thereafter.

           22.        The aforementioned restrictive covenants are overly broad.

           23.         Accordinaly, this Court should declare these res rictive covenants


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 unenforceable.

           24.       The rights of the parties under this Agreement can only be determined by

 declaratory judgment.

           75,       AU persons having an inter st in the subject matter of this dispute have been.

joined as parties to this action.

           76.       Whinfield seeks a declaration of his rights and the rights of CDI in connection

with these restrictive covenants contained within the Employment Agreement.

Count Four (Declaratory Judgment against CD1 — Restrictive Covenants Are Non-
Binding)

           1-21. The allegations of paragraphs 1-21 of Count Three are incorporated herein as

paragraphs 1-21 of this Count Four as if fully alleged and set forth herein.

          22.       CDI has materially breached the Employment Agreement.

          23.       Accordingly, this Court should declare that the aforementioned restrictive

covenants are non-binding with respect to Whinfield.

          24.       The rights of the parties under this Agreement can only be determined by

declaratory judgment.

          25.       AU persons having an interest in the subject matter of this dispute have been

joined as parties to this action.

          26.       Whinfield seeks a declaration of his rights and the rights of CDI in connection

with these restr ctive covenan s contained within the Employment Agreement.

Count Five (Breach of Express Agreement as to CDI)

          1-8.      The allegations of paragraphs 1-8 of Count One are incorporated herein as

paragraphs 1-8 of this Count Five as if fully alleged and set forth herein.

          9.        On or about November 1, 2011, Whintield as producer, sold insurance policies to

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Alfred Lenoci, Sr. and Alfred Lenoci Jr., clients he independently obtained, and became entitled

to a base commission on each case.

           10.       Whinfield was paid base commissions on the afore entioned cases but not in full.

           11.       As a direct result of CD1's breach of the express agreement it had with its Sales

Vice Presidents, Whinfield has suffered approximately 553,000 in damages which represents the

portion of the combined base commission CD1 failed to pay him on the Lenoci cases.

Count Six (Breach of Express Agreement as to CD!)

           1-9.      The allegations of paragraphs 1-9 of Count One are incorpora ed herein as

paragraphs 1-9 of this Count Six as if fully alleged and set forth herein.

           10.       On or about November 1, 2011, Whinfield as producer, sold insurance policies to

Alfred Lenoci, Sr. and Alfred Lenoei, Jr., clients he independently obtained, and became entitled

to a renewal commission on each case, to be paid yearly for as long as the policies remain in full

force and effect.

          11.        To date, CD1 has failed to pay Whinfield renewal commissions on the Lenoci

cases.

           13.       As a direct result of CD1's breach of the express agreement it had with its Sales

Vice Presidents, Whinfield has suffered damages in the amount of the renewal commission

earned on the Lenoci cases as of the first anniversary of the Lenoci policies onward.

Count Seven (Violation of Conn. Gen. Stat. 31-72 as to CD1)

          1-21. The allega ions of paragraphs 1-21 of Count One are incorporated herein as

paragraphs 1-21 of this Count Seven as if fully alleged and set forth herein.

          22-32. The allegations of paragraphs 1-1 I of Count Five are incorporated herein as

paragraphs 21-32 of this Count Seven as if fully alleged and set forth herein.


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         33-44. The allegations of paragraphs 1-12 of Count Six are incorporated herein as

paragraphs 33-44 of this Count Seven as if fully alleged and set forth herein.

         45.         CDI is an employe as defined in Conn. Gen. Stat. §§ 31-7Ia and 31-72.

         46.         Whinfield was an "employee" of CDI pursuant to Conn. Gen. Stat. §§ 31-71a.

         47.         The override, base and renewal commissions owed Whinfield on the Lenoci

cases, and the override commission owed Whinfield on the Shoemaker case constitute "wages"

under Conn. Gen Stat. §§ 31-71a.

         48.         The failure of' CDI to pay the aforementioned commissions owing to Whinfield

constitutes a failure to pay wages in violation of Conn. Gen. Stat. §§ 31-72.

         49.         CDI's wrongful refusal to pay the commissions owing to Whinfield under the

parties' Employment Agreement and express agreement, despite repeated demand for the same,

was arbitrary and unreasonable and arose out of CDI's interest in real zing increased financial

gain from the sale of the Lenoci policies and the Shoemaker policy.

         50.         As a result of CDT's violation Conn. Gen. Stat. §§ 31-72, Whinfield has suffered

damages and is entitled to twice the full amount of the commissions owed, plus prejudgment

interest, costs and reasonable attorney's fees.

Count Eight (Tortious Interference with Contract Rights as to Capitas Financial)

         1-16. The allegations of paragraphs 1-16 of Count One are incorporated herein as

paragraphs 1-16 of this Count Five as if fully alleged and set forth herein.

         17.         Capitas Financial, as the parent company of CDI, knew of the existence of the

Employment Agreement between CDI and Whinfield.

         18.         Capitas Financial knew Whinfield was entitled to override commissions on the

Lenoci cases and Shoemaker case pursua o Ej 2.1 of the Employment Agreement.


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           19.        It was Capitas Financial that performed an accounting relative to the

 commissions, an accounting relative to expenses and tendered a check to Whinfield that was

 short on base commissions and included no override commissions. Specifically, on or about

 February 7, 2010, it was Capitas Financial that sent Whinfield a commission check on the

 Lenoci, Sr. case in the approximate amount of $234,000, an amount far less than what he was

 entitled to receive under the ter s of the Employment Agreement. Consequently, Whinfield

 never negotiated the check.

          20.       By attempting to pay Whinfield a eo mission far less than what he was owed,

 and thereafter refusing to pay the full commission owed despite repeated demand for the

 same, Capitas Financial intentionally interfered with Whinfield's rights under the

 Employment Agreement. Further, by failing to pay a commission of the Lenoci, Jr. case and

 the Shoemaker case, Capitas Financial intentionally interfered with Whinfield's rights under

the Employment Agreement.

          21.       Capitas Financial's intentional interference with Whinfield's rights under the

Employment Agreement was done so that Capitas Financial and/or its subsidiaries and/or

affiliates could realize increased financial gain from the sale of the Lenoci policies to

Whinfield's detriment.

                    Capitas Financial, and CDI took possession of the commission funds illegally

and in violation of securities regulations in order to carry out their plan of underpaying

Whinfield.

          23.       As a direct result of Capitas Financial's tortious interference with Whinfield's

rights under the Employment Agreement, Whinfield has suffered damages.

Count Nine (Tortious Interference with Contract Rights as to Capitas Agency)


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           1-21. The allegations of paragraphs 1-21 of Count Eight are incorporated herein as

paragraphs 1-21 of this Count Eight as if fully alleged and set forth herein.

                    Capitas Agency, as a subsidiary and/or affiliate of Capitas Financial, and

as an affiliate of CDT, knew of the existence of the Employment Agreement between CD1

and Whinfield.

          24.       Capitas Agency knew Whinfield was entitled to override commissions on the

Lenoci cases and Shoemaker case pursuant to *112.1 of the Employment Agreement.

          25.       The entire profit earned on the insurance policy sold to Alfred Lenoci, Jr. was

paid to Capitas Agency, and no portion of that profit was released to Whinfield as an

override commission, in contradiction of the terms of the Employment Agree ent.

          76. Capitas Agency's intentional interference with Whinfield's rights under the

Employment Agreement was done so that Capitas Agency could realize increased financial

gain from the sale of the Alfred Lenoci, Jr. policy to Whinfield's detriment.

          27.       Capitas Agency, and Cat, took possession of the commission funds illegally

in order to carry out their plan of underpaying Whinfield.

          28.       As a direct result of Capitas Agency's tortious interference with Whinfield's

rights under the Employment Agreement, Whinfield has suffered damages.

Count Ten (Conversion as to Capitas Financial) .

           1-21. The allegations of paragraphs 1-21 of Count Eight are incorporated herein as

paragraphs 1-21 of this Count Eight as if fully alleged and set forth herein.

          22.       Capitas Financial, independently or via its subsidiaries and/or affiliates,

without authorization, took ownership over Whinfield's unpaid commissions in contradiction

to Whinfield's rights under the Employment Agreement.


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               23.            As a. direct result of Capitas Financial's conversion of monies owed to Whinfield,

Whinfield has suffered damages.

Count Eleven (Conversion as to Capitas Agency)

                1-25. The allegations of paragraphs 1-25 of Count Nine are incorporated herein as

paragraphs 1-25 of this Count Nine as if fully alleged and set forth herein.

                              Capitas Agency, without authorization, took ownershi.p over Whinfield's

unpaid commission, relative to the Alfred Lenoci, Jr. policy, in contradiction to Whinfield's

rights under the Employment Agreement.

               27.            As a direct result of Capitas Agency's conversion of monies owed to Whinfield,

Whinfield has suffered damages.

       WHEREFORE, the plaintiff claims:

               1.             in relation to Count One, damages for breach of the Employment Agreement,

                              attorney's fees, costs and such other relief the Court deems appropriate;

               2.             in relation to Count Two, a full and formal accounting of revenue received by

                              CDI from the Lenoci cases, which is to include profit calculations as specified

                              herein; a judgment in favor of the plaintiff in the sum found to be due to him on

                              such accounting; prejudgment interest, attorney's fees, punitive damages and

                              costs;

               3.             in relation to Count Three, a declaration that the r strictive covenants contained

                              within the Employment Agreement are overly broad and unenforceable;

               4.             in relation to Count Four, a declaration that the plaintiff cannot be bound to the

                              restrictive covenants within the Employment Agreement given the defendant's

                              material breach of said agreement;


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           5.        in relation to Count Five, damaaes for breach of the express agreement,

                     attorney's fees, costs and such other relief as the Court deems just and equitable;

           6,        in relation to Count Six, damages for breach of the express agreement,

                     attorney's fees, costs and such other relief as the Court deems just and equitable;

           7.        in relation to Count Seven, double damages, prejudgment interes , costs and

                     attorney's fees pursuant to Conn. Gen. Stat. § 31-72;

           8.         in relation to Count Eight, damages, costs and such other relief as the Court

                     deems just and equitable;

           9.        in relation to Count Nine, damages, costs and such other relief as the Court

                     deems just and equitable;

           10.       in relation to Count Ten, damages, costs and such other relief as the Court

                     deems just and eq table; and

           11.       in relation to Count Eleven, damages, costs and such other relief as the Court

                     deems just and equitable.


Dated: June 19, 2013                             PLAINTIFF:
                                                 JOHN R. WHINFIELD


                                                 By:
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                                                       Fed. Bar No. et05961
                                                       Jennifer E. Wheelock
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                                           CERTIFICATION

           1 hereby certify that on June 19, 2013, a copy of the foregoing was filed electronically

 and served by first-class mail on anyone unable to accept electronic filing. Notice of this filing

 will be sent by e-mail to all parties by operation of the court's electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

 Parties may access this filing through the court's CM/ECF System.


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